               Case 23-53192-wlh                  Doc 1     Filed 04/04/23 Entered 04/04/23 10:01:01                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                M7ven Supportive Housing & Development Group, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1690 Roberts Blvd. NW
                                  Suite 110
                                  Kennesaw, GA 30144
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cobb                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1690 Roberts Blvd. NW
                                                                                                  Suite 110 Kennesaw, GA 30144
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    M7ven Supportive Housing & Development Group, Inc.                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    M7ven Supportive Housing & Development Group, Inc.                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 4, 2023
                                                  MM / DD / YYYY


                             X   /s/ Beverly Creagh                                                       Beverly Creagh
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Executive Director




18. Signature of attorney    X   /s/ Theodore N. Stapleton                                                 Date April 4, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Theodore N. Stapleton
                                 Printed name

                                 Theodore N. Stapleton, P.C.
                                 Firm name

                                 2802 Paces Ferry Road
                                 Suite 100-B
                                 Atlanta, GA 30339
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 436-3334                Email address      tstaple@tstaple.com

                                 675850 GA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name M7ven Supportive Housing & Development Group, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Alford Wilburn                                      Account                                                                                                       $1,300.00
 2350 Worthington Dr
 Powder Springs, GA
 30127
 Beverly Creagh                                      Account                                                                                                   $333,000.00
 418 Waterman St SE
 Marietta, GA 30060
 Cobb County Tax                                     Real Estate Taxes Contingent                                                                                $24,000.00
 Commissioner                                                          Unliquidated
 736 Whitlock                                                          Disputed
 Avenue
 Suite 100
 Marietta, GA 30064
 Eddie E Creagh                                      Account                                                                                                     $32,000.00
 418 Wateman Street
 SE
 Marietta, GA 30060
 Elan Financial                                      Account                                                                                                       $3,500.00
 Services
 PO Box 79408
 Saint Louis, MO
 63179-0408
 Estascha Johnson                                    Loan                                                                                                        $70,000.00
 2326 Bellyard Drive
 Buford, GA 30519
 Gilmer County Tax                                   Real Estate Taxes Contingent                                                                                      $76.00
 Commissioner                                                          Unliquidated
 1 Broad Street                                                        Disputed
 Suite 105
 Ellijay, GA 30540
 Linda Burroughs                                     Account                                                                                                       $3,500.00
 4310 Covington
 Highway
 Suite 303
 Decatur, GA 30035




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 Debtor    M7ven Supportive Housing & Development Group, Inc.                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Nathaniel Jones                                     Loan                                                                                                        $25,000.00
 6405 Karen Court
 Riverdale, GA 30296
 Roberts Business                                    HOA                                                                                                         $16,000.00
 Center Assn.
 c/o Custom
 Networks, Inc.
 1690 Robers
 Blvd.-Suite 115
 Kennesaw, GA
 30144
 Strickland & Son                                    Account                                                                                                     $85,000.00
 Construction
 4354 Clairesbrook
 LN
 Acworth, GA 30101
 U.S. SBA                                            Disaster Loan                                                                                             $150,000.00
 14925 Kingsport Rd
 Fort Worth, TX
 76155




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                        A. Christian Wilson, Esq.
                        One Ameris Center
                        3490 Piedmont Road NE
                        Atlanta, GA 30305



                        Alford Wilburn
                        2350 Worthington Dr
                        Powder Springs, GA 30127



                        Ameris Bank
                        304 Tribble Gap Road
                        Suite 200
                        Cumming, GA 30040



                        Beverly Creagh
                        418 Waterman St SE
                        Marietta, GA 30060



                        Cobb County Tax Commissioner
                        736 Whitlock Avenue
                        Suite 100
                        Marietta, GA 30064



                        Eddie E Creagh
                        418 Wateman Street SE
                        Marietta, GA 30060



                        Elan Financial Services
                        PO Box 79408
                        Saint Louis, MO 63179-0408



                        Estascha Johnson
                        2326 Bellyard Drive
                        Buford, GA 30519



                        Gilmer County Tax Commissioner
                        1 Broad Street
                        Suite 105
                        Ellijay, GA 30540
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                    Linda Burroughs
                    4310 Covington Highway
                    Suite 303
                    Decatur, GA 30035



                    Nathaniel Jones
                    6405 Karen Court
                    Riverdale, GA 30296



                    Roberts Business Center Assn.
                    c/o Custom Networks, Inc.
                    1690 Robers Blvd.-Suite 115
                    Kennesaw, GA 30144



                    Strickland & Son Construction
                    4354 Clairesbrook LN
                    Acworth, GA 30101



                    U.S. SBA
                    14925 Kingsport Rd
                    Fort Worth, TX 76155



                    U.S. SBA
                    2 North Street
                    Suite 320
                    Birmingham, AL 35203
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                                          United States Bankruptcy Court
                                               Northern District of Georgia
 In re   M7ven Supportive Housing & Development Group, Inc.                            Case No.
                                                         Debtor(s)                     Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for M7ven Supportive Housing & Development Group, Inc. in the above captioned
action, certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or
indirectly own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to
report under FRBP 7007.1:



  None [Check if applicable]




April 4, 2023                                    /s/ Theodore N. Stapleton
Date                                             Theodore N. Stapleton
                                                 Signature of Attorney or Litigant
                                                 Counsel for M7ven Supportive Housing & Development Group, Inc.
                                                 Theodore N. Stapleton, P.C.
                                                 2802 Paces Ferry Road
                                                 Suite 100-B
                                                 Atlanta, GA 30339
                                                 (770) 436-3334 Fax:(404) 935-5344
                                                 tstaple@tstaple.com
